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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO. 24-CV-24782-RAR

  SHATTUCK BANCSHARES, INC., et al.,

         Plaintiffs,

  v.

  ERIC HANNELIUS, et al.,

        Defendants.
  _____________________________________________________/

             ORDER ADMINISTRATIVELY CLOSING CASE AND REQUIRING
            JOINT MOTION FOR ENTRY OF AGREED ORDER OF DISMISSAL

         THIS CAUSE comes before the Court on the Joint Status Update (“Update”), [ECF No.

  110], filed on May 14, 2025, which indicates that the parties have reached a settlement in this

  case and entered into a Binding Term Sheet. Accordingly, the Court having carefully reviewed

  the Update, the record, and being otherwise fully advised, it is hereby

        ORDERED AND ADJUDGED as follows:

         1. The above-styled action is administratively CLOSED without prejudice to the parties

  to file the appropriate dismissal documents on or before July 17, 2025.

         2. The Clerk shall CLOSE this case for administrative purposes only.

         3. Defendants’ Motion to Dismiss, [ECF No. 92], is DENIED AS MOOT. Any other

  pending motions are DENIED AS MOOT and any pending deadlines are TERMINATED.

         DONE AND ORDERED in Miami, Florida, this 14th day of May, 2025.



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                                                          RODOLFO A. RUIZ II
                                                          UNITED STATES DISTRICT JUDGE
